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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                             December 28, 2020
                          _________________________________
                                                                               Christopher M. Wolpert
                                                                                   Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                           No. 20-1268
                                                    (D.C. No. 1:17-CR-00168-CMA-1)
  KAREN LYNN MCCLAFLIN,                                         (D. Colo.)

        Defendant - Appellant.
                       _________________________________

                                       ORDER
                          _________________________________

       Appellant's motion to dismiss this matter is granted. See 10th Cir. R. 27.5(A)(9)

 and Fed. R. App. P. Rule 42(b).

       A copy of this order shall stand as and for the mandate of the court.


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk
